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1100 Union Street

San Diego, California 92101

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Attorneys for Defendants The Honorable

Patti C. Ratekin, Retired Commissioner of the Superior Court
of California, County of San Diego, The Honorable

Lorna A. Alksne, Retired Judge of the Superior Court of
California, County of San Diego, and The Honorable David J.
Danielsen, Retired Judge of the Superior Court of California,
County of San Diego

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

ROBERT EMERT, Case No. 23cv0230-RSH-AHG

PROOF OF SERVICE

Plaintiff,
[CivLR 5.4(c)]

Vv.

LUIS VENA; ANDREA SCHUCK;
MATTHEW W. CORD; PATTI C.
RATEKIN; DAVID S. SCHULMAN;
LORNA A. ALKSNE; DAVID J.
DANIELSEN; MOORE, SCHULMAN
& MOORE; ROBERT OLAGUE, AND
DOES 1-20 inclusive,

Defendants.

 

 

 

I, JUN TINSLEY, declare that: I am over the age of eighteen years and not a
party to the above-referenced case; 1 am employed in, or am a resident of, the
County of San Diego, California where the mailing occurs; and my business
address is: 1100 Union Street, San Diego, California.

 

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I further declare that I am readily familiar with the business practice for
collection and processing of correspondence for mailing with the United States
Postal Service; and that the correspondence shall be deposited with the United
States Postal Service this same day in the ordinary course of business.

On March 3, 2023, I served the following document(s):

NOTICE OF MOTION AND MOTION BY COMMISSIONER PATTI C.
RATEKIN, JUDGE LORNA A. ALKSNE, AND JUDGE DAVID J.
DANIELSEN IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S
COMPLAINT WITH PREJUDICE;

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
MOTION TO DISMISS COMPLAINT WITH PREJUDICE BY
COMMISSIONER PATTI C. RATEKIN, JUDGE LORNA A. ALKSNE,
AND JUDGE DAVID J. DANIELSEN

DEFENDANTS COMMISSIONER PATTI C. RATEKIN, JUDGE LORNA
A. ALKSNE, AND JUDGE DAVID J. DANIELSEN’S REQUEST FOR
JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
PLAINTIFF’S COMPLAINT WITH PREJUDICE

DECLARATION OF CARMELA E. DUKE IN SUPPORT OF
DEFENDANTS COMMISSIONER PATTI C. RATEKIN, JUDGE LORNA
A. ALKSNE, AND JUDGE DAVID J. DANIELSEN’S MOTION TO
DISMISS PLAINTIFF’S COMPLAINT WITH PREJUDICE

by placing a true copy of each document in a separate envelope addressed to each
addressee, respectively, as follows:

Robert Emert
2351 Vista Lago Terrace
Escondido, CA 92029

I then sealed each envelope and deposited said envelope(s) in the U.S. Postal
Pickup box, this same day, at my business address shown above, following
ordinary business practices.

 

PROOF OF SERVICE - 2

 
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I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct.

Executed on March 3, 2023 \ —S

 

C JUN TINSLEY

 

PROOF OF SERVICE - 3

 
